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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS



IN RE: MOVEIT CUSTOMER DATA                        MDL No. 1:23-md-03083-ADB-PGL
SECURITY BREACH LITIGATION

 This Document Relates To:

 ALL CASES


     JOINT PROPOSED AGENDA FOR THE APRIL 24, 2024 STATUS CONFERENCE


        The parties jointly propose the following agenda for the status conference scheduled for

April 24, 2024 at 1:00 p.m.

A.      Motions / Matters for Which Oral Argument is Requested

        None.

B.      Report to the Court

        1.      Schedule for briefing CAFA, arbitration, class waiver, article III standing.

                Gary Lynch for Plaintiffs; Eamon Joyce for Defendants. If issue specific
                questions arise: Orrick Herrington & Sutcliffe for Defendants regarding CAFA;
                Mayer Brown for Defendants regarding timing of arbitration briefing.

                a.     Joint Proposal regarding briefing Threshold Issues, April 5, 2024 [ECF
                       No. 851].

                b.     Order, directing submission of proposed schedule, April 12, 2024 [ECF
                       No. 855].

                c.     Jointly Proposed CMO No. 1, regarding briefing CAFA, Arbitration, Class
                       Waiver, and Article III Standing Issues, April 19, 2024 [ECF No. 865].

        2.      Update on discovery.

                Doug McNamara for Plaintiffs; Jeff Tsai for Defendants

                a.     Parties exchanged drafts of a Proposed ESI Protocol and they will meet
                       and confer the week of April 22.


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               b.     Parties exchanged drafts of a Proposed Protective Order and they will
                      meet and confer the week of April 22.

               c.     Plaintiffs sent draft requests for production of documents and
                      interrogatories to Progress.

       3.      Time, fee, and expense update.

               Alyson Oliver, Time, Fee, and Expense Counsel

       Progress on establishment of portal and accounting systems and first reporting deadline.

       4.      Update re settlements (including Johns Hopkins)

               Gary Lynch for Plaintiffs; Aravind Swaminathan for Johns Hopkins and the
               Defendants’ Liaison Committee

       5.      Schedule for next status conference.

       The parties propose that the next Status Conference be scheduled for the week of May

20-24, 2024.

C.     Pending Motions / Submissions.

       None.

D.     Briefing in progress.

       None.



 Dated: April 19, 2024         Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

       I hereby certify that, on this date, the foregoing document was filed electronically via the

Court’s CM/ECF system, which will send notice of the filing to all counsel of record.

Dated: April 19, 2024                               /s/ Kristen A. Johnson
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